                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF IOWA
                                      CEDAR RAPIDS DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                   Plaintiff,                      )           No. CR 04-108 LRR
                                                   )
         vs.                                       )
                                                   )
LEON JOHNSON (a/k/a Terrell Hill,                  )
Williams McHee, William C. McGhee,                 )
William C. McGee, William McGhee,                  )
Terrell Eiill, William T. McGhee, Tyrone Hill,     )
Ricky Talman, Ricky Tolbert, and                   )
James Johnson),                                    )
                                                   )
                   Defendant.                      )

                     RESPONSE TO DEFENDANT’S MOTION TO CONTINUE

         The United States does not oppose defendant’s motion to continue trial.

Because of conflicts with attorneys’ schedules, the United States respectfully requests

the Court schedule trial for either February 22 or 28, 2005.

                                                  Respectfully submitted,

                                                  CHARLES W. LARSON, SR
                                                  United States Attorney

                                                  By, s/Rebecca Goodgame Ebinger

     CERTIFICATE OF SERVICE                       REBECCA GOODGAME EBINGER
The undersigned certifies that a copy of this
document was served on January 14, 2005,
                                                  Special Assistant United States Attorney
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